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                                                                                April 8, 2025


              VIA ECF FILING

              Molly C. Dwyer
              Clerk of Court
              U.S. Court of Appeals for the Ninth Circuit
              James R. Browning Courthouse
              95 Seventh Street
              San Francisco, CA 94103

                        Re:   Pritchard v. Blue Cross Blue Shield of Illinois, No. 23-4331

              Dear Ms. Dwyer,

                    Pursuant to FRAP 28(j), BCBSIL submits this Court’s decision in Roe v. Critchfield, No.
              23-2807 (Mar. 20, 2025) (Ex. A).

                      The decision upholds an Idaho Law (S.B. 1100) that requires a public-school student to
              use only the multi-occupancy restrooms and changing facilities that correspond to the student’s
              natal sex, regardless of transgender status. Plaintiffs argued, inter alia, that S.B. 1100 violates
              Title IX because the requirement discriminates “on the basis of sex.” 20 U.S.C. § 1681(a).
              Ultimately, the Court did not resolve the parties’ differences over how to construe the word
              “sex” because the statute failed to provide the “adequate notice” to the defendant that is required
              for liability under Spending Clause legislation. Ex. A at 27.

                     The decision held that “Title IX does not ‘so clearly’ prohibit designating intimate spaces
              by biology” for Idaho to have made “an informed choice” to forgo its right to maintain facilities
              segregated by natal sex in exchange for federal funds. Id. at 28-29. Rather, “from the time of the
              enactment of Title IX and its implementing regulations, the scheme has authorized schools to
              maintain sex-segregated facilities.” Id. at 30. Importantly, the decision affirmed that the
              requirement that funding conditions be “clear” applies to claims for purely prospective relief. Id.
              at 31.

                       BCBSIL similarly lacked the required “clear notice” that its TPA activities would be
              subject to Section 1557. Id. at 33; see Gray Br. 21-23. On the face of the statute, Section 1557’s
              obligations apply only to discrete “programs or activities” receiving federal funds, not to
              activities of the broader entity (like TPA operations) that receive no federal funds. Blue Br. 47-
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              56; Gray Br. 14-20. Likewise, “from the time of the enactment of [Section 1557] and its
              implementing regulations,” those regulations have exempted TPAs that did not design the plan.
              Ex. A at 30; see Blue Br. 33-41. “BCBSIL was never on notice that, by accepting federal
              funding, it exposed its TPA activities to Section 1557 liability.” Gray Br. 23; see also ECF 40.
              On that basis alone, the decision below should be reversed, with summary judgment entered for
              BCBSIL.

                                                              Respectfully submitted,




                                                              /s/ Robert N. Hochman
                                                              Robert N. Hochman
                                                              Counsel for Blue Cross Blue Shield of Illinois
